CaSe 18-50214-|’|]11 DOC 159 Filed 08/24/18

MULL}N HOARD & BROWN, L.L.P.
David R. Langston, SBN: 11923800

Brad W. Odeil, SBN: 24065839

P.O. Box 2585

Lubbock, Texas 79408-2585

Te!ephone: (806) 765-7491

Facsimile; (806) 765»0553

dri@mhba.com

bode|l@mhba.com

Cmmselfnr Debmrs, Reagor-Dykes
Mr)mrs, Ll’,' Retrgor-Dykes Impr)rts, LP,'
Reagr)r-Dykes Amarillr), LP,~ Reagor-Dylces
Aum C`r)mpany, LP; Reag()r-Dykes
Plr:invz'ew, LP; Reagor~Dykes Flr)ydmla, I.P

Entered 08/24/18 15:10:41 Page 1 of 15

IN 'I`HE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

IN RE:
REAG()R~DYKES MOTORS, LP

Debtor.

Case No. 18~50214-1'lj11

 

IN RE:
REAG()R~DYKES IMP()RTS., LP

Debto r.

Case No. 18-50215~1'1_§11
(Jointly Administered Under
Case No. 18-50214)

 

IN RE:
REAG()R-I)YKES AMARILLO, LP

Debtor.

Case NO. 18-502]6-rlj11
(Jointly Administered Under
Case No. 18-50214)

 

IN RE:
REAGOR-DYKES AUTO C()l\/IPANY, LP

l)ebto r.

I\/lmic)n To Emn]ov Mullin Hoard & Brown. L.L.P.

WDO@COJW¢CO$QO'J @WWJQCDWWJ CM¢G$WC¢UJ@CUJ DO'JW'JDO'JWJC»CD

Case No. 18-50217-1'1]`11
(Jointly Administered Under
Case No. 18-50214)

As Counsei F<)r Debtors and for Authorizatiun to Withdraw ~ Page E

Case 18-50214-r|j11 Doc 159 Filed 08/24/18 Entered 08/24/18 15:10:41 Page 2 of 15

IN RE:
REAGOR-DYKES PLAINVIEW, LP Case No. lS-SOZIS-rjfll
(Jointly Administered Under

l)ebtor. Case No. 18-50214)

¥N RE:

REAGOR~DYKES FLOYDADA, LP Case No. 18-50219-rlj11
(Jointly Administered Under
Case No. 18-50214)

OmFO'-'>OUJQO'JCM WJW¢¢O$DOOWO

Debtor.
MOTION TO EMPLOY MULLIN H()ARD & BR()WN, L.L.P., NUNC PRO 'i`UNC, AS
COUNSEL FOR DEBT()RS FROl\/l AUGUST l, 2018 THROUGH AUGUST 21, 2018
AND TO WITHDRAW AS C()UNSEL FOR THE DEBTORS
T() Tl“lE HONORABLE ROBERT L. JONES, U.S. Banl<ruptcy Judge:

NOW COl\/IES Mullin Hoard & Brown, L.L.P. and files this Motion To Ernploy l\/IULLIN
I“IOARD & BROWN, L.L.P., Nunc Pro Tunc to the Petition Date pursuant to L.B.R. 2014-l(b)(l ), as
Counsel For Reagor-Dyl<es l\/Iotors. LP, Reagor-Dyl<es lmports, LP* Reagor»Dykes Arnarillo, LP,
Reagor-Dyl<es Auto Company, LP. Reagor-Dykes Plainview, LP, and Reagor~Dykes Floydada, LP
(each a "Debtor,” and collectively, the “Debtors") Frorn August l, 2018 through 12:00 p.m.
prevailing central time on August 21, 2018 and to Withdraw as Counsel for the Debtors (the
"l\/lotion") in the above-referenced bankruptcy proceeding and in support of such l\/Iotion would
respectfully show the Court as follows:

BACKGROUND

lt fn July ol`201 8, Ford l\/lotor Credit Company ("Ford”) performed a surprise audit on

the Debtors. Based on Ford’s surprise audit, Ford asserts that the Debtors are more than 340 million

out of trust for vehicles the Debtors had floor planned with Ford. Al°ter the surprise audit. Ford

placed personnel at each of the Debtors` dealerships1 took possession of vehicle keys, took

Motion To Emplov Mu\lin Hoard & Brown. L.L.P.
As Cnunsel For Debtors and for Authorization to Withdraw - Page 2

Case 18-50214-r|j11 Doc 159 Filed 08/24/18 Entered 08/24/18 15:10:41 Page 3 of 15

possession of MSOS and titles, and notified indirect lenders that all proceeds from contracts in transit
should be submitted to Ford instead of the Debtors. 'l`hese actions caused for the Debtors to be
unable to operate in the normal course of their business

2. On lilly 29, 2018, MULLIN HOARD & BROWN, L.L.P. Was contacted by the
limited partners of the Debtors and two non-debtor entities, Reagor Auto l\/Iall, Ltd. (“RAM") and
Reagor Dykes Snydcr, 1_,P (“RD Snyder"')` and the managing members of the Debtors’ and non-
debtors’ general partners to discuss the current tinanciai situation of the Debtors and the non-debtors
(collectively, “RDAG”). RDAG consists of approximately tweive (12) dealerships in West Texas
and Dailas which are operated as a consolidated group ol" auto dealerships Ford provides the floor
financing for the Debtors, and several other ienders provide the tioor financing for RAM and RD
Snyder.

3. Over the next several days, MULLIN HOARD & BROWN, L.L.P. worked with
RDAG to analyze their i'inancial situation MULLFN HOARD & BROWN, L.L.P. likewise worked
with RDAG to negotiate with Ford a resolution of the situation resulting irom Ford`s surprise audit
Despite every effort to do so, Ford liled its Original Cornpiaint and Appiication for Writ o'l`
Sequestration (the “"Complaint") in the U.S. District Court for the i\lorthern District of Texas,
Lubbocl< Division on July 31, 2018. The Complaint named the Debtors, the Debtors’ general
partners, and Mr. Reagor and Mr. Dykes.

4. On account ol`the situation facing the Debtors and the filing ofthe Cornplaint, Rick
Dyl<es and Bart Reagor decided to put the Debtors into chapter 1 1 bankruptcy Therefore, on August
1, 2018 (the "Petition Date"`), l\/lr. Dykes and 1\/1r. Reagor, on behalf of the Debtors, executed

corporate resolutions authorizing the Debtors to tile voluntary petitions for relief under chapter 1 1 of

l\/!otion To Empiov Mullin Hoard & Brown` L.L..P.
As Counsel For Debtors and For Authorization to Withdraw ~ Page 3

Case 18-50214-r|j11 Doc 159 Filed 08/24/18 Entered 08/24/18 15:10:41 Page 4 of 15

title 11 of the United States Code (the “Bankruptcy Code”) and to employ i\/IULLIN HOARD &
BROWN, L.L.P. as counsel for the Debtors in their capacity as Debtors-in-Possession in their
bankruptcy cases.

5. Because RAM and RD Snyder did not have its floor financing with Ford and these
entities were not named in the Complainti l\/Ir. Dykes and l\/ir. Reagor determined not to file
bankruptcy petitions for RAl\/I and RD Snyder. Nonetheless, MULLIN HOAR.D & BROWN, L.L.P.
continued to represent them to deaE with any issues the non-debtor entities might experience as a part
of` the filing of the Cornplaint and the filing of the bankruptcy cases for the Debtors.

6. /-\s part of the agreement to represent the Debtors, RAi\/[, and RD Snyder, MULLIN
HOARD & BROWN, L.L.P. required a retainer in the amount of$SO0,000, 8250,000 ofwhich was
paid from personal funds of`Rick Dykes around the Petition Date. The other $250,000 came from the
personal funds of Bart Reagor around the time that it looked potentiaily necessary to put RAM and
RD Snyder in to chapter l l bankruptcy The entire retainer of`$500,000 was immediately placed in
l\/lUiiLlN l-IOARD & BROWN. ii.lu.P."s trust account upon receipt Contemporaneously With the
filing of this Motion, MULLIN l-l()ARD & BROWN. lu.l...P. is filing its Disclosure of Attorney
Colnpensation with the Court. A true and correct copy ot`the Disclosure of Attorney Cornpensation
is attached hereto as Exhibit "A."’

7. Upon the filing ofthe Petitions, MULLIN HOARD & BROWN, L.L.P. continued its
representation ofthe Debtors in their bankruptcy cases through filings of`pleadings, attendance and
representation at hearings, responding to inquiries of`creditors, working with the accounting staff`,
meeting with the principais regarding potential sources of alternative financing, conducting discovery

in conjunction with the cases. and negotiations with creditors During the first three weeks of the
l\/lotion 'i`o Emp]oy Mullin l-loard & Brown_ L.L.P.
As Counsel For Debtors and for Authorization to Withdraw - Page 4

Case 18-50214-r|j11 Doc 159 Filed 08/24/18 Entered 08/24/18 15:10:41 Page 5 of 15

Debtors’ cases, the Court held hearings on the Debtors’ use of cash collateral, the Debtors’ payment
ofprepetition employee wages, and the interim retention of BlackBriar Advisors LLC as CRO for the
Debtors.

8. Likewise, MULLIN HOARD & BROWN, L.L.P. continued to represent RAM and
RD Snyder outside of bankruptcy providing advice to RAl\/I and RD Snyder on its operations,
negotiating with its creditors and floor plan lenders1 and advising on the potential need for RAM and
RD Snyder to tile for protection under the Bankruptcy Code.

9. During this time, l\/IULLIN HOARD & BROWN, L.L.P. consulted with and received
direction for any actions taken by the Debtors, RAl\/l, and RD Snyder from its principais Rick Dykes
and Bart Reagor. Once the Debtors, RAl\/I, and RD Snyder sought to employ the assistance of
BlackBriar Advisors LLC (“BlackBriar”) as CRO for the Debtors, RAl\/I, and RD Snyder, l\/iUl.LlN
1~-1()ARD & BROWN` L.ii.P. worked with and consulted with BlackBriar on actions to be taken in
the bankruptcy cases.

10. After the entry ofthe interim order approving the employment of BlackBriar as CRO,
around 12:00 p.m. prevailing central time on August 21, 2018, MULLIN l~lOARD & BROWN,
I,n,.li.l’. was informed by the CRO, through its managing partner 1\/1r. Robert (Bob) Schleizer, that the
Debtors, RAl\/I, and RD Snyder had made the decision to seek to empioy other counsel for their
representation and to relieve l\/IULLIN HOARD & BR()WN, L.L.P. effective immediately from its
legal services on behal fof the Debtors, RAM, and RD Snyder. Accordingly, as of noon on Tuesday,
August 21, 2018, l\/lULLiN HOARD & BROWN, L.L.P. ceased conducting any legal work on behalf

of the Debtors, except for actions needed to facilitate a smooth transition to new counsel.

Motion '1`0 Emplov Mullin Hoard & Brown. lJ.L.P.
As Counsel For Debtors and for Authorization to Withdraw - Page 5

Case 18-50214-r|j11 Doc 159 Filed 08/24/18 Entered 08/24/18 15:10:41 Page 6 of 15

1 1. On August 23, 2018,1'\/1ULL1N HOARD & BROWN, L.L.P. received a letter ratifying
the actions of the CRO the day before from l\/lr. Reagor and Mr. Dykes on behalf of the Debtors,
RAl\/l, and RD Snyder.

12. After being relieved of its duties as counsel for the Debtors, MULLIN HOARD &
BROWN, L.L.P. contacted the Oftice of the United States Trustee to disclose the situation, discuss
the receipt and possession of the retainer, the question of whether the retainer funds constitute
property of the estate or the personal funds of l\/lr. Dykes and l\/ir. Reagor, and to discuss steps to
move forward with retaining MULLIN HOARD & BROWN, L.L.P. as counsel for the Debtors for
the duration described herein, withdrawal as counsel for the Debtors, the application for payment of
its fees and expenses out of the retainer, and a smooth transition between it and new counsel for the
Debtors.

13. After consulting with representatives of the Ofiice of the U.S. Trustee MULLIN
l'IOARD & BROWN, L.L.P. decided to proceed to file a motion to have the Court approve its
employment from the Petition Date to the date of its termination, proceed to file an appropriate
application for compensation and reimbursement of fees and expenses for the period of its
engagement, and seek an order from the Court relating to the character and disposition ofthe balance
of the retainer funds after payment of its approved fees and expenses

JURJSDICTION, VENUE, AUTHORITY, AND STATUS OF CASES

14. This Court hasjurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue ofthis

proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

Motion To Ernplov Muliin l-ioard & Brown` L.L.P.
As Counsel For Debtors and for Authorization to Witiidraw - Page 6

Case 18-50214-r|j11 Doc 159 Filed 08/24/18 Entered 08/24/18 15:10:41 Page 7 of 15

15. The authority for the relief requested in this Motion is 1 1 U.S.C. § 327 and Federal
Rule of Bankruptcy Procedure 2014.

16. Pursuant to §§ 1 107(a) and l 108 of the Bankruptcy Codei the Debtors continue to
operate their businesses and manage their properties, affairs, and assets as debtors-in-possession. The
Offlce of the U.S. Trustee has not appointed a committee in these cases.

AUTHORIZATION TO EMPLOY MULLIN HOARD & BROWN, L.L.P.

17. Pursuant to 11 U.S.C. § 327, l\/IULLfN IiOARD & BROWN, L.L.P. desires for the
Court to authorize the employment ofthe law firm of l\/IULLIN HOARD & BROWN, l,.L.P., P.O.
Box 2585, Lubbock, Texas 79408-2585, as bankruptcy counsel in this bankruptcy proceeding for
such compensation and reimbursement of expenses as is just for the time period of July 29, 2018
through 12:00 p.m. prevailing central time on August 21 , 2018. Such law firm is a firm ofattorneys
duly admitted to practice in this Couit` selected by the Debtors because of its experience in
bankruptcy and reorganization matters

DISCLOSURE ()F DISINTERESTEI)NESS AS TO THE DEBTORS

18. To the best of the firm`s knowledge, after reasonable inquiry, MULLH\l HOARD &
BROWN, li.L.P., is a disinterested firm and does not represent or hold any interest adverse to the
Debtors with respect to the matters on vvhich they were employed, and has no other connections with
any other creditor. or any other party in interest in this case, except as disclosed below:

a. l\/IULLIN HOARD & BROWN, L.L.P. would disclose that it has represented in

unrelated matters Wells F argo Bank, N.A. l\/Iullin Hoard & Brown, L.L.P. does not represent

Wells Fargo Bank, N.A. on any matters directly involving the Debtors.

b. MULLIN HOARD & BROWN, L.L.P would also disclose that it has represented one
of the limited partners of the Debtors, Rick Dykes, in matters unrelated to the Debtors.

Motion To Ernplov Mullin Hoard & Brown L.L.P.
As Counsel For Debtors and for Authorization to Wilhdraw - Page 7

Case 18-50214-r|j11 Doc 159 Filed 08/24/18 Entered 08/24/18 15:10:41 Page 8 of 15

c. Bennett Cook, a partner with MULLI`N HOARD & BROWN, L.L.P., provided legal
services to the principals of the Debtors. and organized and formed various Debtor entities
while he was employed with his prior law firm.

d. Additionally, l‘\/IULLIN l~lOARD & BROWN, L.l,.P. has represented one of the
landlords, Fayebuck Family, LLC, for Reagor Dykes Amarillo, LP in unrelated matters
l\/IULLlN HOARD & BROWN, L.L.P. does not represent and has not represented Fayebuck
Family, LLC on any matters directly involving Reagor Dykes Amarillo, LP or the Debtors.

Attached hereto as Exhibit “A” is a copy of an Affidavit of Disinterestedness which has been
executed by David R. Langston on behalf ofthe firm of MULLIN HOARD & BROWN, L.L.P.

DISCLOSURE OF DISINTERESTEDNESS AS TO RAM AND RD SNYDER

19. TO provide full disclosure to the Court, MULLIN HOARD & BROWN, L.L.P. is a
disinterested firm and does not represent or hold any interest adverse to RAl\/l and RD Snyder with
respect to the matters on which it was employed. and has no other connections with any other
creditor, or any other party in interest of RAl\/l and RD Snyder, except as disclosed below:

a. MULLIN l-IOARD & BROWN, L.L.P. discloses that it has represented in unrelated
matters FirstCapital Bank of fean and First Bank & Trust; nonetheless, MULLTN
HOARD & BROWN, L.L.P. does not represent, and has not represented, any of these
entities on any matters directly relating to RAl\/l, RD Snyder, or the Debtors.

b. David R. Langston, the lead attorney on the representation of the Debtors, RAl\/l, and
RD Snyder, is a stockholder ol`First Bancshares ol"l`exas, Inc., the holding company
ofFirstCapital Bank ol"fexas.

c. Bennett Cook, a partner with MULLIN l~lOARD & BROWN, L.L.P., provided legal
services to the principals of the Debtors, RAl\/l, and RD Snyder, and organized and
formed various Debtor and non-debtor entities while he was employed with his prior
law firm.

DISCLOSURE OF COMPENSATI()N
20. ln regard to compensation for services rendered, l\/IULLIN HOARD & BROWN`

L.l._l’.i will seek reimbursement of fees and expenses as is just and authorized by the Court.

Motion To Emplov iviullin Hoard & Brown. L.L.P.
As Counsel For Debtors and for Authorization to Withdraw - Page 8

Case 18-50214-r|j11 Doc 159 Filed 08/24/18 Entered 08/24/18 15:10:41 Page 9 of 15

MULL[N HOARD & BROWN, L.L.P., has informed the Debtors, RAM, and RD Snyder, that it
charges 3200.00 to 8450.00 per hour for partners' and associates’ time, and $80.00 to 8135.00 per
hour for paralegals’ and law clerks’ time.

21. As approval ofemployment ofMUthN HOARD & BROWN, L.L,P. is only being
sought for the time period of July 29, 2018 through August 21, 2018, MULLIN HOARD &
BROWN, L.L.P. will file a Final Application for Compensation and Reimbursement of Expenses
with the Bankruptcy Court seeking authority to draw on its retainer and final approval of its fees and
expenses incurred during the time of employment for the Debtors, RAl\/l, and RD Snyder. The fee
application will contain a detailed statement showing services performed by these attorneys and the
particular compensation and reimbursement sought.

AUTH()RIZATION T() WITI{DRAW AS COUNSEL F()R THE DEBTORS

22. As stated above, around 12:00 p.m. prevailing central time on August 21, 2018q the
CRO for the Debtors informed David Langston that the Debtors have determine to seek the
employment ofa different law firm to serve and act as counsel for the Debtors-in~Possession. Mr.
Bob Schleizer, with BlackBriar Advisors luliC. informed l\/lr. Langston that effective immediately the
services of MULLlN HOARD & BROWN, L_L.P. were no longer necessary

23. On account of the Debtors’ desire to hire different counsel to represent the Debtors in
these bankruptcy cases. l\/IULLIN l-IOARD & BROWN. L.`L.P. seeks to withdraw as counsel for the
Debtors.

24. Because the Debtors no longer seek to use the services of l\/lULLlN l~lOARD &

BROWN, li.lJ.P. cause exists for the firm to withdraw as counsel for the Debtors.

Motion To Empioy Mullin l-loard & Brown. L.L.P.
As Counsel l~`or Debtors and for Authorization to Withdraw - Page 9

CaSe 18-50214-|’|]11 DOC 159 Filed 08/24/18 Entered 08/24/18 15210:41 Page 10 Of 15

25. On August 22, 2018, MULLIN HOARD & BROWN, L.L.P. contacted the CRO,
counsel for l\/Ir. Rick Dykes, and counsel for l\/ir. Bart Reagor, and informed them of the pending
deadlines to respond to motions filed by various creditors, to prepare and file schedules and
Statement of financial affairs, and to attend the Debtors’ initial interview with the Office of the U.S.
Trustee.

26. MUbLlN HOARD & BROW`N, L.L.P. believes that the Debtors will be seeking to
employ the law firm of Foley & Lardner, LLP, which recently merged with Gardere Wynne Sewell
LLP` and l\/larcus A. Helt as counsel for the Debtors-in-Possession. l\/IULLlN HOARD & BROWN,
L.l,.P. will work with new counsel for the Debtors on any transition after the firm’s withdrawal as
counsel for the Debtors as needed.

Wl-IEREFORE, PREMlSES CONSIDERED, MUI,LIN llOARD & BROWN, L.l..P. prays
for an order approving the employment of l\/IULLI`N l~lOARD & BROWN. L.l,.P., as attorneys for
the Debtors, RAl\/i, and RD Snyder for the time period of July 29, 2018 through 12:00 p.m.
prevailing central time on August 21 , 2018, for an order authorizing l\/lULLlN HOARD & BROWN,
L.L.P. to withdraw as counsel for the Debtors, RAl\/l, and RD Snyder effective as of 12:00 p.m.
prevailing central time on August 21, 20l 8, for an order authorizing l\/IULLIN HOARD & BROWN,
l_,.L.P. to file its Final Application for Payment of Fees and Expenses, and for such other and further

relief as the Court deems necessary and proper.

l\/lotion 'l`o Emplov l\/lullin Hoard & Brown, L.l.i.l’.
As Counsel For Debtors and for Authorization to Withdraw - Page 10

CaSe 18-50214-|’|]11 DOC 159 Filed 08/24/18 Entered 08/24/18 15210:41 Page 11 Of 15

Respectfully Submitted,

MULLI`N HOARD & BROWN, L.L.P.
l’.O. Box 2585

    
   

/s/ David R. Langston
David it Langst@n, ssN; 119%300

Brad W. Odell, SBN: 24065839

Cozmselfr)r Debtors, Reagor-Dykes

Motors, LP,' Reagor-Dykes Imports, LP;
Reagor-Dykes Amari'l!o, LP,' Reagor-Dykes
Auto Company, LP,~ Reagor-Dykes
Pliiinview, LP,' Reagor-Dykes Floydada, LP

CERTIFICATE OF CONFERENCE

The undersigned certifies that on August 22, 2018, he spoke with l\/lr. Stephen McKitt and
Nancy Resnick with the Office ofthe United States 'l`rustee. l\/lr. l\/chitt and Ms. Resnick expressed
to the undersigned that the Office ofthe United States 'frustee does not oppose the reliefrequested in
this l\/Iotion.

The undersigned further certifies that he spoke with l\./lr. i\/larcus A. Helt on August 24, 2018
to confirm that the law firm of Foley & Larclner, LLP would be seeking to be employed by the
Debtors as counsel for the Debtors upon MULLIN HOARD & BROWN, l..L.P.’s withdrawal l\/Ir.

  

requested in this l\/lotion.

David R. lsangston

Motion To Emplov |\/luilin l-Ioard & Brown. l..L.P.
As Counsel For Debtors and for Authorization to Withdraw - Page 1 1

CaSe 18-50214-1’|]11 DOC 159 Filed 08/24/18 Entered 08/24/18 15210:41 Page 12 Of 15

CERTIFICATE OF SERV}CE

l certify that a true and correct copy oft eiféregoing Motion was served on the following

parties in interest via Email and/or ECF on thi ay of August 2018:

1. Reagor Dykes Auto Group
1215 Ave. J
Lubbock, Texas 79401

2. U.S. Trustee’s Ot`fice
Attn: Stephen l\/[cKitt
1 100 Commerce St., Room 9C60
Dallas, iean 75242

Email: Stephen.McKitt@usdoj.gov

3. Mr. Bart Reagor
l\/lanaging l\/Iember of the Debtors and non-debtors
General Partners
1215 Ave. J
l_iubbock, iean 79401
limail: breagor@reagordykes.com

4. l\/lr. Rick Dykes
Managing l\/lember of the Debtors and non-debtors
General Partners
1215 Ave. J
liubbock, Texas 79401

Emailz dykesrick@vahoo.com

5. liouis Phillips
Kelly Hait & Pitre
301 l\/lain Street, Suite 1600
Baton Rouge, LA 70801
Ernail: Louis.Pliillips@kellvhart.com

6. Tom Kirkendall
I_iaw Offices of Torn Kirkendall
2 Violetta Ct.
The Woodlands, TX 77381
Email: biukirk@kir.com

 

Moiion To Ernployl Mullin l~loard & Brown1 L.l..P.
As Counsel For Debtors and for Authorization to Withdraw - Page 12

CaSe 18-50214-1’|]11 DOC 159 Filed 08/24/18 Entered 08/24/18 15210:41 Page 13 Of 15

7. Bob Schleizer
BlackBriar Advisors LLC
3131 l\/chinney Ave., #600
Dallas, TX 75204
Email: bschleizer@blackbriaradvisors.com

8. l\/larcus Helt
Foley & Lardner, LLP
2021 l\/chinney Ave., Suite 1600
Dallas, TX 7520l
Email: mhelt@foley.com

 

  

9. All parties receiving notice via ECF in _-

tila

s/ David R. L.
David R. Langston U

  

Motion To Employ Mullin Hoard & Brown L.l_..P.
As Counsei For Debtors and for Authorization to Withdraw - Page 13

CaSe 18-50214-1’|]11 DOC 159 Filed 08/24/18 Entered 08/24/18 15210:41 Page 14 Of 15

Sl`ATE OF TEXAS

COUNTY OF LUBBOCK
AFF}DAVIT OF DAVID R. LANGSTON

Before me, the undersigned authority, on this day personally appeared David R. Langston, a
partner in the law firm of MULLIN HOARD & BROWN, L.L.P., being duly sworn by me, upon oath
deposed and said:

1 . That he is a resident of Lubbock. Lubbock County, Texas, that he is over 21 years of
age and is ofsound mind and has never been convicted of an offense; that he is an attorney
practicing in Lubbock County, Texas, and possesses all of the qualifications of an attomey or
counselor of law in the State.

2. That the law firm ol` l\/lullin lloard & Browni L.l..P.. consists of attorneys admitted to
practice with extensive knowledge and experience in bankruptcy practice and said attorneys
ofthe firm are in all respects qualified to render the necessary legal services requested by the
Debtors, RAl\/l, and RD Snyder.

3. 'l`hat the law firm of l`\/lullin lloard & Brown, L.l,.P., is disinterested and has no
connection with any of the creditors of the estate, or any party of interest, their respective
attorneys and accountanis, the U.S. "l`rustee or any person employed in the office of the U.S.
”l`rustee except as disclosed in said l\/lotion.

=1_ That the Debtors, RAl\/l, RD Snyder, and l\/Iullin Hoard & Brown, L.L.P. have entered
into an agreement regarding its fees for representation in this case, and that a retainer of
5500,000.00 has been paid by the controlling members of the general partnership of the
Debtors, as well as RAM, and RD Snyder to the law firm ofl\/lullin l~loard & Brown, L.L.P.
Mullin lloard & Brown, L.L.P. has placed the retainer in its firm trust account Mullin Hoard
& Brown, L.L.P. will file a l\/lotion For Com “ l`on and Reimbursement ofExpenses with
this Bankruptcy Court seeking authority t draw on its al approval of its fees
and expenses

 
   
   

FURTHER AFFlAN'l" SAITI-l NO'l`.
s David R. Langston
David R. liangston y

SUBSCRMto before me this 24th day of August, 201 8.

M\Tzi silent .
l=_z.~§ gmng ,i.v., -- l /s/ MitziEmert MW/

…a Mlc°'"“m“""“i """"“Ui"‘ Noi/\Rv rust fe in Ai\ii) ron
"--""=iiir:sinii;or ii;xAs

 

Motion To Enip|ov Mullin lloard & Brown. L.L.l’.
As Counsel For Debtors and for Authorization to Withdraw - Page 14

CaSe 18-50214-|’|]11 DOC 159 Filed 08/24/18 Entered 08/24/18 15210:41 Page 15 Oi 15

132030 (Form 2030) {12/15)

United States Bankruptcy Court
Northern District of Texas

ln re __Reagor-Dykes Motors, LP g _ Case No. _ 18-50214 _mm

dt¢)¢el{t:ii(§)"h Ch'dpt€r __J_J_-

 

 

DISCLOSURE OF COl\/IPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to ll U .S.C. § 329(a) and lied. Bankr. P. 20|6(b). l certify that 1 am the attorney l`or the above named debtor(s) and that
compensation paid to inc within one year before the liling el`thc petition in bankruplcy. or agreed to he paid to me. l`or services rendered or to
be rendered on liena|l`ol`tlte debtor(s) in contemplation ol` or in connection With the bankruptcy case is as l`oliows:

l~`or legal serviccs. l have agreed to accept 3 _ w _w______S_G0,00E)._lLl_
i’rior to the liling ofthis statement l have received .i>` _____________EMJ_,_O_O_Q."QQH
Ba|ance Duc 53 _ m 110-001
2. 'l`he source oi`the compensation paid to me \\'as:
E:l Debtor § Other(speeit`y): Managing N|ember, Rick Dykes ~ 5250,000
Nlanaging N|ember, Bart Reager - $250,000
_1. '[`he source ol`compensation to be paid to me is:
l:l Debtor n ()ther (specil`y): NIA
4. l l have not agreed to share the above-disclosed compensation \vith any other person unless they are members and associates ot`rny |a\\» l`n'm.
l:l l have agreed to share the above-disclosed compensation with a person or persons who are not members or associates oi`my law lirm. A
copy ol`thc agreement together with a list ol` the names ol`thc people sharing in the compensation is attached
5. ln return l'or the above-disclosed l`ec. l have agreed to render legal service l`or all aspects ol` the bankruptcy case, including:

‘t. Analysis ol`the debtor's linancial situation. and rendering advice to the debtor in determining whether to file a petition in bankruptcy
Preparation and filing of` any petition‘ schedules statement ofat"t`airs and plan which may he required:

Representation ol`the debtor at the meeting ot“creditors and conlirmation hearing and any adjourned hearings thereof';
Representation ol`thc debtor in adversary proceedings and other contested bankruptcy matters;

|()ther provisions as needcd]

_c<:.p':r

(). By agreement with the debtor(s). the above-disclosed |`ee does not include the following servicc:

this bankruptcy proceeding

O§_z _'_ _:2_2{_ _'_____/_X _ _t

Date

    

David R. Langston11923800
S:'gnnture r)f/lttorney

Mullin Hoard & Brown, L.L.P.
P.O. Box 2585

Lubboek, TX 79408
806-765-7491 Fax:806-765-0553
t drl_@n)msa-csraw
l .»“\"nme of."mttjt`rm

1
l
l
l
l
l
t
l
t

   

Sottware Cepynght tel 1996-2015 Best Case LLC -www oestcase com Besl Case Hankmptey

